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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION


ERASTO ARROYO BARCENAS, et al.,

             Plaintiffs, Individually and on
             Behalf of the Class of Those                    Case No. 1:22-cv-00397-RP
             Similarly Situated,

                      v.

STEVEN MCCRAW in his individual
capacity, et al.,

             Defendants.


                   RESPONSE TO NOTICE REGARDING AMICUS BRIEF


       Undersigned counsel hereby responds to Plaintiffs’ notice to the Court regarding

amicus brief. Plaintiffs are correct that the email exchanged between Plaintiffs’ counsel

and undersigned indicates that they oppose the filing of an amicus brief. Unfortunately,

and inadvertently, I misread the email as stating that Plaintiffs did not oppose the filing of

an amicus brief while asserting that such a brief would be untimely under “FRCP 29.” I

apologize to both the Court and Plaintiffs for my mistaken misrepresentation. Further, I

would simply note that there is no deadline for filing amicus briefs under Federal Rules

for Civil Procedure. The Federal Rule for Appellate Procedure 29 imposes a 7-day

deadline for amicus briefs, but no corresponding deadline is applicable here.




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       Amicus asks the Court to consider its pending motion for leave to file an amicus

brief as an opposed motion for leave and grant the motion for the reasons set forth

therein.

Respectfully submitted on August 23, 2022,

                                             /s/ Matt Crapo
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                           CERTIFICATE OF SERVICE

      I hereby certify that on August 23, 2022, a true and accurate copy of the foregoing

document was filed electronically (via CM/ECF) and served on all counsel of record.

                                               /s/ Matt Crapo

                                               MATT A. CRAPO
